      Case 3:18-cv-00993-AWT Document 8-2 Filed 07/03/18 Page 1 of 6



                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT


STRIKE 3 HOLDINGS, LLC,
                                               Civil Action No. 3:18-cv-00993-AWT
        Plaintiff,

v.

JOHN DOE subscriber assigned IP address
67.85.12.118,

        Defendant.


DECLARATION OF GREG LANSKY IN SUPPORT OF PLAINTIFF’S MOTION FOR
   LEAVE TO SERVE A THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f)
                          CONFERENCE




                     [Remainder of page intentionally left blank]




                                        i
                                    EXHIBIT A
            Case 3:18-cv-00993-AWT Document 8-2 Filed 07/03/18 Page 2 of 6



       DECLARATIONOF GREG LANSKY IN SUPPORTOF PLAINTIFF'SMOTION
         FOR LEAVE TO SERVE A THIRD-PARTYSUBPOENAPRIOR TO
              1          A RULE 26(F) CONFERENCE
       I, Greg Lansky, do hereby state and declare as follows:
                  I




       I.                         I am a member of General Media Systems, LLC, the parent company that owns
Strike 3 Hol~ings, LLC ("Strike 3"). I am the Chief Creative Officer of the Blacked,Blacked
Raw, Tushy,and Vixenadult brands.
       2.             1           I have personal knowledge of all of the matters contained in this declaration and,
                      1




if called and .swom as a witness, I can and competently will testify to all matters contained
                          I




herein. This1declarationis made in support of Plaintiff's Motion for Leave to Serve a Third-
Party Subpo~naPrior to a Rule 26(t) Conference.
       3.                             Strike 3 owns the intellectual property to the Blacked,Blacked Raw, Tushy,and
Vixenadult brands, including the copyrights to each of the motion pictures distributed through
Blacked,Blatked Raw, Tushy and Vixenand the trademarks to each of the brand names and
logos. Strike 3 is owned entirely by our company General Media Systems, LLC and has existed
since 2015.
       4.                     , I moved to the United States in 2006 from Paris, France to pursue my dream of
creating art in an adult context. I have always been passionate about photography and
cinematography.
                              I




       5.                         , It was a difficult start- I could barely speak English, and I had trouble making
connectionsaljldfinding employment. I struggled for several years to make a name for myself as
a reliable phot'ographerand director.
       6.                         ,Eventually, after tremendous hard work, I was fortunate to be hired by some of
the biggest ad~lt brands in the world. Through these experiences, I was able to establish myself
and become an expert in the field.
       7.                         In 2013, I decided to risk everythingto create my own company and studio. As a
                                  I




director, I felt the industry and I were not offering the best quality and experience possible. I felt
I was not offetjng truly inspiring projects for performersto express their art.
           Case 3:18-cv-00993-AWT Document 8-2 Filed 07/03/18 Page 3 of 6




          8.                                At the time, the adult marketwas demoralizedand it appearedthat a high-quality,
well produced,subscriptionbased website would never succeed.
          9.                                I can still rememberwhen our companywas just three peoplein my small home
office.
          10.                               We kept growing and after a few years, our brands turned into a multi-million
dollar a year business. We now have 20 millionunique visitorsto our websitesper month and a
loyal following.
                I




          11.       1                       Our company's philosophiesare important.
          12.                               We always striveto pay artists and modelsan amountabove that being paid by
other companies. Indeed, we are known for paying our performersthe highestrates ever
                        I




recorded. Empoweringthe artists and especiallythe womenwe work with is at the core of our
                            !




company.
          13.                               We focus on deliveringto our subscribersand fans superior qualityadult films
and a wonderfulcustomerexperience.People thoughtwe were crazy to think that peoplewanted
to pay for exHensivequality adult films and we were told that we were destinedto fail. Now, we
                                I




have a substa~tialand loyal customerbase.
          14.                               We providejobs for nearly 75 people worldwide. We providegood benefits
includinghe~th care coverageand have an extremelypositive companyculture. Our recent new
employeesinclude productionmanagers,video editors,marketingspecialists,accountants,and
                                    i




HR represent~tives.
          15.                           ·Our movies are known for havingthe highestproductionbudget of any in the
industry. We ~nvestin and utilize state of the art cinematicequipment.We film using
Hollywoodindustrystandards. And, as our subscriberbase grows, we always seek to find ways
                                        i




to invest in valµe for our customers.
          16.                               Because of this, we have a subscriberbase that is one of the largest of any adult
                                            I




sites in the wodd.
          17.                               We are also currentlythe numberone seller of adult DVDs in the United States.
            Case 3:18-cv-00993-AWT Document 8-2 Filed 07/03/18 Page 4 of 6




        18.           Our content is licensed throughout the world, including by most major cable

networks.

        19. , Our success has not gone unnoticed. Indeed, we are very proud to state that our

unique cinematic films have won many awards. It's humbling. Some of them include:

              o Best New Studio (XBIZ,2017)

              o       Studio of the Year (XBIZ, 2018)

              o Best Cinematography (AVN, 2016)

              o Director of the Year (AVN, 2016-2017; XBIZ, 2017-2018)

              o I Best Director - (XRCO, 2016-2017)

              o Best Membership Website (AVN, 2016-2017)
              o ' Adult Site of the Year - (XBIZ, 2015-2017)

              o Best marketing campaign- company image (AVN, 2016-2017)
                  I

              o Marketing Campaign of the Year (XBIZ, 2018)

              o , Greg Lansky-Lifetime Achievement Award (Nightmoves)

              o Vignette Series of the Year (XBIZ, 2018)

        20.           We also are routinely featured in the mainstream media. Recently, Forbes, 1 The

Daily Beast,2 and CBC Radio 3 have all done substantial profiles on us. We are also currently

working on a project with BuzzFeed.
                      I


        21.           We are proud of our impact on the industry. We have raised the bar in the

industry - leading more adult studios to invest in better content, higher pay for performers, and to

treat each performer like an artist. That is a testament to the entire team, the company we have

built and the movies we create.

     1 "How      One Pornographer is Trying to Elevate Porn to Art," Forbes July 20, 2017
https://www .forbeS.com/sites/susannahbreslin/2017 /07 /20/pomographer-greg-lansky-interview/#230 I d3ae6593
     2   "Meet the Man Making Porn Great Again," The Daily Beast, February 18, 2017
http://www.thedailybeast.com/meet-the-man-making-porn-great-again
     3 "Pom-o-nomics: How one director is making a fortune by defying conventional wisdom," CBCRadio, February

24, 2017 http://www.cbc.ca/radio/day6/episode-326-sanctuary-cities-la-la-land-vs-jazz-hollywood-in-china-pom-o-
nomics-and-more-I·. 3994160/pom-o-nomics-how-one-director-is-making-a-fortune-by-defying-conventional-
wisdom- l .3994167
              Case 3:18-cv-00993-AWT Document 8-2 Filed 07/03/18 Page 5 of 6



              I




        22.       1                                Unfortunately,piracy is a major threat to our company. We can competein the
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industry,but we cannot competewhen our contentis stolen.
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        23.           1




                      I,
                                                   We have discoveredthat when we put videos online for paid membersto view, it
takes as Iittl~as four minutes to be downloadedon to torrent websites. We have attemptedto
                           I

identifythe initial seeder but have found it impossiblewith the large volume of our subscriber
                           I                                                                            I
                           I




base.
        24.                    1



                               •




                               I
                                                   We put a tremendousamount of time, effort and creative energy into producing
and distributi~gvaluable content for our paid customers. It crushesus to see it being made
                                   I




availableto anyone for free in just minutes.
        25.                            1           We are undeniablythe most pirated adult content in the world. Our moviesare
                                       I




typicallyamori.gthe most pirated television shows and movies on major torrent websites.
                                           I




        26.                                    1




                                               1
                                                   We send on average 50,000Digital MillenniumCopyrightAct notices a month
but it does viftµallynothing to stop the rampant copyrightinfringement.
                                                   I




                                                   !




        27.                                            The only effective way to stop the piracy of our movies on BitTorrentnetworksis
to file lawsuitslike this one.
                                                       I


        28.                                            We are mindful of the nature of the litigation,and our goal is not to embarrass
                                                       I                                            •


anyone,or fore~anyoneto settle unwillingly,especiallyanyonethat is innocent. We are proud
                                                           I




of the films we make. We do not want anyoneto be humiliatedby them.
                                                               I




        29.                                        Because of this, my companyand our legal team strive to only file strong cases
                                                                   I


againstextremeinfringers. Each lawsuit seeksto stop only those infringerswho engage in not
                                                                   I


only illegal do~oading, but also in large scale unauthorizeddistributionof our content. All
                                                                       I




defendantspurs1.1ied
                  in Strike 3 litigationhave distributed,at a minimum,at least 15% of Strike
                                                                           I




J's entirecopyrightedlibrary.
                                                                               I




        30.                                            We also do not seek settlementsunless initiatedby the defendantor his counsel.
                                                                                   I




We do not send demand letters nor make any attemptto contacta defendantprior to service.
                                                                                       I




        31.                                            W~ are careful not to proceedwith a case against a defendantunless we feel we
                                                                                           I




have a strong case,and a good faith basis for doing so. We will not pursue defendantsthat
                                                                                               I,
         Case 3:18-cv-00993-AWT Document 8-2 Filed 07/03/18 Page 6 of 6




provide substantiated exculpatory evidence. Nor will we pursue defendants that have proven

hardships . Our clear objective is to be mindful and reasonable with each case.

       32.     We are a respected entertainment company that makes nearly all of its revenue

from sales of subscriptions, DVDs , and licenses. This litigation is not a business model. Our

goal is to deter piracy and redirect the infringement back into legitimate sales. Proceeds we

receive from settlements go back into making our company whole, includi ng investing in better

pay for artists and performers , better quality productions, and creating jobs .

       33.     We believe a consumer's choice of what content to enjoy, whether it be adult

entertainment or otherwise, is a personal one to that consumer and therefore it is our policy to

keep confidential the identity of not only our subscribers , but even those we are pursuing for

copyright infringement. We typically only reveal a defendant's identity if the defendant does not

request confidentiality or if the Court in a particular action does not allow us to proceed with the

defendant remaining anonymous.

       34.     Our copyrights are the foundation of our livelihood. Our copyrights enable us to

open our office doors each day, pay our employees, make a difference in our community and

create motion pictures that raise the industry standard . We have to protect them .



                                         DECLARATION

       PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.

       Executed on this   --1!3
                        day of J O...Nv      201 8 .   A-vt,
       GREGORY AOUIZERA TE a.k.a GREG LANSKY
